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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00123-DAD-BAM

12                                        Plaintiff,     PRELIMINARY ORDER OF FORFEITURE

13                               v.

14    FELIX GAGO,

15                                        Defendant.

16

17             Based upon the plea agreement and the stipulation and application for preliminary

18    order of forfeiture and publication thereof entered into between United States of America nad

19    defendant Felix Gago, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

20             1.       Pursuant to 21 U.S.C. § 853(a), defendant Felix Gago’s interest in the

21    following property shall be condemned and forfeited to the United States of America, to be

22    disposed of according to law:

23                      a. Approximately $5,069.00 in U.S. Currency.

24             2.       The above-listed property constitutes or is derived from any proceeds obtained

25    by the defendant, directly or indirectly, and is property used, intended to be used, in any

26    manner or part, to commit, or to facilitate the commission of, or was in a conspiracy to

27    commit, a violation of 21 U.S.C. §§ 846 and 841(a)(1).

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 1             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 2    authorized to seize the above-listed property. The aforementioned property shall be seized

 3    and held by the United States Marshals Service in its secure custody and control.

 4             4.       a.       Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States

 5    shall publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 6    General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7    General may direct shall be posted for at least 30 consecutive days on the official internet

 8    government forfeiture site www.forfeiture.gov. The United States may also, to the extent

 9    practicable, provide direct written notice to any person known to have alleged an interest in

10    the property that is the subject of the order of forfeiture as a substitute for published notice as

11    to those persons so notified.

12                      b.       This notice shall state that any person, other than the defendant, asserting a

13    legal interest in the above-listed property, must file a petition with the Court within sixty (60)

14    days from the first day of publication of the Notice of Forfeiture posted on the official

15    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

16    whichever is earlier.

17             5.       The government, in its discretion, shall conduct discovery, including written

18    discovery, the taking of depositions, and the issuance of subpoenas, in order to identify, locate or

19    dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal Rules

20    of Criminal Procedure.
21             6.       If a petition is timely filed, upon adjudication of all third-party interests, if any,

22    this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

23    interests will be addressed.

24    IT IS SO ORDERED.
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          Dated:       November 15, 2017
26                                                              UNITED STATES DISTRICT JUDGE

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     PRELIMINARY ORDER OF FORFEITURE                        2
